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            ORAL ARGUMENT HELD MARCH 24, 2025

                       Nos. 25-5067 & 25-5068

                In the United States Court of Appeals
                 for the District of Columbia Circuit

                             J.G.G. et al.,
                                         Plaintiffs–Appellees,

                                   v.

            DONALD J. TRUMP, in his official capacity
              as President of the United States, et al.,
                                    Defendants–Appellants.


                     On Appeal from Orders of the
                     United States District Court
                      for the District of Columbia

               DEFENDANTS–APPELLANTS’
            MOTION FOR VOLUNTARY DISMISSAL
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     Because Defendants prevailed in the Supreme Court in obtaining

the relief sought in this appeal, Trump v. J.G.G., 145 S. Ct. 1003 (2025),

these consolidated proceedings are now moot. Defendants therefore move

to dismiss these proceedings voluntarily, with the parties to bear their

own costs. Plaintiffs do not oppose this request.

                              Respectfully submitted,

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Dated: June 20, 2025          Counsel for Defendants–Appellants
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Dated: June 20, 2025          s/Drew C. Ensign
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